                      Case 18-80069    Doc 32    Filed 05/31/19    Page 1 of 2
SO ORDERED.

SIGNED this 31st day of May, 2019.




                           UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                   DURHAM DIVISION

   IN THE MATTER OF:                                 )
   Tara D. Glover                                    )      No. B-18-80069 C-13D
                                                     )
                                                     )              ORDER
          Debtor(s)                                  )


   After notice and hearing in open Court on May 30, 2019, upon Motion to Dismiss by the
   Standing Trustee, and for sufficient reasons appearing, the presiding Judge in open Court
   directed that the Clerk enter the following Order of Dismissal; therefore, it is

   ORDERED that this case is dismissed upon the grounds of failure of the Debtor to comply with
   the requirements of the plan, and it is further

   ORDERED that the Standing Trustee is authorized to retain from any funds on hand in the case
   noticing costs in the amount of $1.00 per notice with the balance of the funds to be disbursed
   pursuant to the confirmed plan.

                                      END OF DOCUMENT
                 Case 18-80069   Doc 32   Filed 05/31/19   Page 2 of 2



                              PARTIES TO BE SERVED
                                   PAGE 1 OF 1
                                 B-18-80069 C-13D




Tara D. Glover
9302 Meridian Market Dr.
Fuquay Varina, NC 27526

Brent C. Wootton, Esq.                **CM/ECF**
Attorney for the Debtor

Richard M. Hutson, II, Esq.           **CM/ECF**
Standing Trustee
